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                                      EXHIBIT C




DOCS_DE:238908.1 05233/003
     Case 20-10553-CTG
                Case 22-50322-CTG
                         Claim 3193-1 Doc
                                        Filed
                                           1-306/16/20
                                                Filed 05/09/22
                                                         Desc Main
                                                               PageDocument
                                                                     2 of 107 Page 1 of 3
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Art Van Furniture, LLC                                                                                           U.S. Bankruptcy Court
                                                                                                                            District of Delaware
 Debtor 2
 (Spouse, if filing)                                                                                                             6/16/2020
 United States Bankruptcy Court           District of Delaware                                                              Una O'Boyle, Clerk
 Case number: 20−10553


Official Form 410
Proof of Claim                                                                                                                                     04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            JA Long, Inc.
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               JA Long, Inc.                                                  Jason Publow

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  Michael Busenkell                                              2634 E. 3rd Street
                                  1201 North Orange Street, Suite 300
                                  Wilmington, DE 19801
                                                                                                 Bloomington, IN 47401

                                  Contact phone              302−416−3344                        Contact phone            812−360−2547
                                  Contact email                                                  Contact email
                                          mbusenkell@gsbblaw.com                                      jason@bloomingtonfurniture.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                        Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1
    Case 20-10553-CTG
               Case 22-50322-CTG
                        Claim 3193-1 Doc
                                       Filed
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                                                                    3 of 107 Page 2 of 3
Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      270836.57                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Rejection of Franchise Agreement − see addendum


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:           Secured to the extent of setoff


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $      270836.57
                                    secured:
                                    Amount of the claim that is               $         0.00                       (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                         0.00        %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




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    Case 20-10553-CTG
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                                       Filed
                                          1-306/16/20
                                               Filed 05/09/22
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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                     $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                     $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                         $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                    $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                6/16/2020

                                                                 MM / DD / YYYY


                                 /s/ Jason Publow

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        Jason Publow

                                                                             First name       Middle name        Last name
                                 Title

                                 Company                                     JA Long, Inc.

                                                                             Identify the corporate servicer as the company if the authorized agent is a
                                                                             servicer
                                 Address                                     2634 E. 3rd Street

                                                                             Number Street
                                                                             Bloomington, IN 47401

                                                                             City State ZIP Code
                                 Contact phone             812−360−2547                         Email         jason@bloomingtonfurniture


Official Form 410                                                      Proof of Claim                                                   page 3
          Case 20-10553-CTG
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                              Claim 3193-1Doc
                                          Part1-3
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                                                                    PageAttachment
                                                                         5 of 107 1                                                                       Page 1
                                                of 5
  Fill in this information to identify the case:

  Debtor 1              Art Van Furniture, LLC
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________    District of __________
                                          District of Delaware

  Case number            20-10533 (CSS)
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                      04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      JA Long, Inc.
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Michael Busenkell
                                      _____________________________________________________                       Jason Publow
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     1201 N. Orange Street, Suite 300
                                      ______________________________________________________                      2634 E 3rd St.
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Wilmington                 DE           19801
                                      ______________________________________________________                       Bloomington               IN           47401
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   302-416-3344
                                                       ________________________                                   Contact phone   812-360-2547
                                                                                                                                   ________________________

                                      Contact email   mbusenkell@gsbblaw.com
                                                       ________________________                                   Contact email   jason@bloomingtonfurniture.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                 Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




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        Case 20-10553-CTG
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                            270,836.57 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            ✔ No
                                                                            
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Rejection of Franchise Agreement - see addendum
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes.
                                          The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                           ✔
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          Secured to the extent of setoff
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✔
                                         I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   06/16/2020
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                   /s/ Jason Publow
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Jason Publow
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                 JA Long, Inc.
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                2634 E 3rd St.
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Bloomintgon                                     IN           47401
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          812-360-2547
                                                         _____________________________                              Email   jason@bloomingtonfurniture.com
                                                                                                                                 ____________________________________




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                                   ADDENDUM TO PROOF OF CLAIM

  I.      NOTICE RESPECTING THIS CLAIM

               In addition to the name and address provided on the attached Proof of Claim form, all
       notices with respect to any claim of JA Long, Inc. (“Claimant”) must be served upon the following:

        Gellert Scali Busenkell & Brown, LLC           JA Long, Inc.
        Attn: Michael Busenkell, Esq.                  Attn: Jason Publow
        1201 N. Orange Street, Ste. 300                2634 E 3rd Street
        Wilmington, DE 19801                           Bloomington, IN 47401

 II.      NATURE OF CLAIM

              Claimant asserts a claim (“Claim”) against the Debtors, Art Van Furniture, LLC, et al. (the
       “Debtors”), in an amount not less than $270,836.57 based on rejection of that certain franchise
       agreement dated June 6, 2016 (the “Franchise Agreement”) as memorialized in the contract
       attached hereto as Exhibit A. In rejecting the Franchise Agreement, Claimant has incurred
       damages in the amount of $270,836.57 as illustrated in the chart describing losses attached as
       Exhibit B.

              By filing this Proof of Claim, Claimant reserves all rights against the Debtors. Among
       other things, Claimant preserves any and all rights they have to taxes, fees, expenses, costs,
       damages and/or other charges owed. Nothing in this Addendum or the accompanying Proof of
       Claim limits Claimant’s rights.

III.      CLASSIFICATION OF CLAIMS

               Claimant’s Claim is a general unsecured claim for the damages resulting from breach of
       contract by virtue of the rejection of the Franchise Agreement; however, the claim is secured to
       the extent of setoff.

IV.       SUPPORTING DOCUMENTS

             The documents upon which the Claim is based include, among other things, the Franchise
       Agreement attached as Exhibit A, the loss calculation attached as Exhibit B, the sign receipt as
       Exhibit C, and the point of sale receipt as Exhibit D.

 V.       NO SETOFF

              To the best of Claimant’s knowledge, the claim set forth in this Proof of Claim is not subject
       to any valid setoff or counterclaim by the Debtors; provided, however, that any setoff or
       recoupment rights that the Claimant may possess are expressly reserved and are not waived.




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 VI.       ADMINISTRATIVE EXPENSE CLAIMS

               This Proof of Claim is without prejudice to other claims, if any, that the Claimant has or
        may have for payment of any administrative expense allowable under Section 503(b) of the
        Bankruptcy Code or otherwise with respect to any transaction, whether or not such amounts are
        included in this Proof of Claim, and the right to file such claim or any similar claim at an
        appropriate time is expressly reserved.

VII.       ADDITIONAL PROOFS OF CLAIM

                This Proof of Claim is filed without prejudice to the filing by, or on behalf of, the Claimant
        of additional proofs of claim with respect to any other liability or indebtedness of the Debtors. All
        procedural and substantive defenses and rights with respect to any claim that may be asserted
        against the Claimant by the Debtors or any other party in interest in these bankruptcy cases or
        otherwise, or by any other person or entity whatsoever, are specifically preserved.

VIII.      NO WAIVER

                Filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or release
        of the Claimant’s rights against any other entity or person liable for all or part of any claim
        described herein; (b) a waiver of the right to seek to have the reference withdraw with respect to
        (i) the subject matter of these claims, (ii) any objection or other proceedings commenced with
        respect thereto, or (iii) any other proceedings commenced in these cases against or otherwise
        involving the Claimant; (c) a waiver of any right to the subordination, in favor of the Claimant, of
        indebtedness or liens held by creditors of the Debtors; or (d) an election of remedy which waives
        or otherwise affects any other remedy of the Claimant.

 IX.       RESERVATION OF RIGHTS

                This Proof of Claim is filed with full reservation of rights, including the right to assert
        additional, supplementary and/or amended proofs of claim and requests for administrative expense
        reimbursements based on events, information and/or documents obtained from the Debtors or
        others through discovery or otherwise. Without in any way limiting the foregoing, the Claimant’s
        rights to assert any claim they may have against the Debtors, or against any other party or property
        other than the Debtors and their estates, are expressly reserved. This Proof of Claim is conditional
        only and is not intended, nor should it be construed as the Claimant’s consent to jurisdiction in the
        District of Delaware, or as a waiver of the Claimant’s right to a trial by jury in any action or
        proceeding.




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                             EXHIBIT A
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Case 20-10553-CTG
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           Case 22-50322-CTG
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Case 20-10553-CTG
           Case 22-50322-CTG
                    Claim 3193-1Doc
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          Case 22-50322-CTG
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          Case 22-50322-CTG
                    Claim 3193-1
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                                                       JA Long, Inc.’s Damages

Loss Incurred              Value of Loss           Loss Valuation Explanation                            Supporting Documentation (if any)
Future profits             $68,263                 Lost profit for remaining 6.5 years of 10 year        Corp Tax Return
                                                   agreement @ $10,502 per year.



Selling off Art Van        $157,505                As a result of the rejection of the franchise         Will need to be revised as liquidation
Exclusive furniture at a                           agreement, to continue our business we must           progresses.
discount under                                     liquidate the Art Van exclusive inventory at a
liquidation                                        discount to replace it with new vendor
                                                   inventory. The retail value for the exclusive AVF
                                                                                                                                                  Case 22-50322-CTG




                                                   inventory is $618,398; the discounted value is
                                                   $371,039, a loss of $157,505.
Use of Art Van Exterior    $14,715                 Unable to enjoy the use of Exterior Signage. We       Invoices and AVF Franchise
signage                                            paid $22,638.85 for a sign to last the full 10 year   Agreement
                                                                                                                                                  Doc 1-3




                                                   term of the agreement. As a result of the
                                                   rejection of the franchise agreement by Art Van,
                                                   we only used it for 3.5 years. Loss value of 6.5
                                                   years for $14,715.26
Use of Art Van exclusive   $20,561                 Unable to enjoy the use of Art Van Exclusive POS      Invoices and AVF Franchise
Point of Sale system                               System for the full 10 year term agreement. We        Agreement
purchased                                          paid $29,554 for 10 year term of agreement. As
                                                                                                                                                  Filed 05/09/22




                                                   a result of the rejection of the franchise
                                                   agreement by Art Van, we were only able to use
                                                   it for 3.5 years. Loss value of 6.5 years for
                                                   $20,561.
Advertising paid to AVF    $12,425                 1% of written sales from collected Nov 1 - Mar –      Royalty invoices, Franchise agreement
but not spent on our                               31 for advertising but not spent.
Behalf
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